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 VANDERSLICE DECL.
    EXHIBIT A4
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 6                                UNITED STATES DISTRICT COURT
 7                           NORTHERN DISTRICT OF CALIFORNIA
 8                                   SAN FRANCISCO DIVISION
 9
     MAXIMILIAN KLEIN, et al., on behalf of           Case No. 3:20-cv-08570-JD
10   themselves and all others similarly situated,
                                                      DECLARATION OF CATHERINE
11                  Plaintiffs,                       SPEVAK
12          v.                                        Judge: Hon. James Donato
13   META PLATFORMS, INC., a Delaware
     Corporation,
14
                    Defendant.
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 1         I, Catherine Spevak, do hereby declare as follows:
 2         1.      I am a Finance Manager at Apple Inc. I have been employed by Apple since
 3 November 2021 and have held my current title since January 2023. Over the course of my

 4 employment at Apple, I have acquired personal knowledge of Apple’s practices and procedures
 5 concerning the maintenance of the confidentiality of its strategic, business, and financial
 6 information.
 7         2.      I respectfully submit this declaration in support of the Omnibus Sealing Motion that
 8 I understand will be filed on March 14, 2025, in the action captioned Klein v. Meta Platforms, Inc.,
 9 Case No. 3:20-cv-08570-JD (N.D. Cal.).
10         3.      The facts set forth in this declaration are true and correct to the best of my
11 knowledge, information, and belief, and are based on my personal knowledge of Apple’s policies
12 and practices as they relate to the treatment of confidential information and materials that were
13 provided to me and reviewed by me. If called upon as a witness in this action, I could and would
14 testify from my personal knowledge and knowledge acquired from sources with factual foundation.

15         4.      The Services Integration Agreement and the Side Letter to that agreement—which
16 I understand have been filed on the docket under seal as Exhibit 10 (Dkt. 892-9) and Exhibit 40
17 (Dkt. 892-10), respectively, to the Declaration of Yavar Bathaee In Support of Advertiser
18 Plaintiffs’ Opposition to Defendant Meta Platforms, Inc.’s Motion for Summary Judgment—are
19 maintained as highly confidential. To the best of my knowledge, neither of these contracts has
20 been publicly disclosed. In fact, Apple has already supported maintaining these contracts under
21 seal in this action, and I previously submitted a declaration in connection with that effort. (See
22 Non-Party Apple Inc.’s Statement in Support of Def. Meta Platforms, Inc.’s Response to Advertiser
23 Pls.’ Mot. to Consider Whether Another Party’s Material Should Be Sealed (Aug. 30, 2024), Dkt.
24 839; Declaration of Catherine Spevak in Support of Non-Party Apple Inc.’s Statement in Support
25 of Def. Meta Platforms, Inc.’s Response to Advertiser Pls.’ Mot. to Consider Whether Another
26 Party’s Material Should Be Sealed (Aug. 30, 2024), Dkt. 839-1.) The information in these
27 contracts is highly sensitive. Moreover, because these contracts reveal terms that Apple agreed to

28 with a counterparty, if publicly disclosed, they could prejudice Apple’s competitive position by

                                      DECLARATION OF CATHERINE SPEVAK.
                                            Case No. 3:20-cv-08570-JD
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 1 harming Apple’s relationships with business partners, developers, and advertisers, putting Apple
 2 at an unfair disadvantage in future business negotiations, and permitting Apple’s competitors to
 3 gain an unfair advantage in competition with Apple. Apple believes these documents should be

 4 maintained under seal.
 5         5.      The text appearing in Advertiser Plaintiffs’ Opposition to Defendant Meta
 6 Platforms, Inc.’s Motion for Summary Judgment (Dkt. 892) reflected in the below chart contains
 7 confidential, non-public information that implicates Apple’s confidentiality interests by revealing
 8 contractual terms in which Apple has a reasonable expectation of confidentiality.
 9
        Document                        Line Numbers                     Confidential Text
10
        Advertiser Plaintiffs’          1:12                             Between “restricts Apple’s”
11      Opposition to Defendant                                          and “Ex. 10”
        Meta Platforms, Inc.’s
12      Motion for Summary
        Judgment (Dkt. 892)
13
        Advertiser Plaintiffs’          2:10–2:11                        Between “restricted
14      Opposition to Defendant                                          Apple’s” and “Ex. 10”
        Meta Platforms, Inc.’s
15      Motion for Summary
        Judgment (Dkt. 892)
16
        Advertiser Plaintiffs’          9:15–9:16                        Between “limiting Apple’s”
17      Opposition to Defendant                                          and the end of the
        Meta Platforms, Inc.’s                                           paragraph.
18      Motion for Summary
        Judgment (Dkt. 892)
19
        Advertiser Plaintiffs’          17:9–17:13                       Between “restricted from”
20      Opposition to Defendant                                          and “Ex. 10”
        Meta Platforms, Inc.’s
21      Motion for Summary
        Judgment (Dkt. 892)
22
23 Disclosure of this non-public information may result in competitive harm to Apple, as it reveals
24 confidential contract terms, which, as detailed above, could give a competitor or potential business
25 partner unfair leverage in competing against or negotiating with Apple. Apple believes this
26 information should be maintained under seal.
27         6.      The text appearing in Exhibit 4 to the Declaration of Tilman Klumpp, Ph.D, i.e., the

28 Expert Merits Report of Tilman Klumpp, Ph.D., dated January 12, 2024 (Dkt. 892-5) reflected in

                                      DECLARATION OF CATHERINE SPEVAK.
                                            Case No. 3:20-cv-08570-JD
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 1 the below chart contains confidential, non-public information that implicates Apple’s
 2 confidentiality interests by revealing contractual terms in which Apple has a reasonable
 3 expectation of confidentiality.

 4
        Document                        Page/Paragraph/Footnote          Confidential Text
 5                                      Numbers

 6      Declaration of Tilman           Pages 79–80, Paragraph           Between “expressly
        Klumpp, Ph.D, Ex. 4 (Dkt.       157                              addresses” and the end of
 7      892-5)                                                           the paragraph

 8      Declaration of Tilman           Page 79, Paragraph 157,          Between “-690” and the end
        Klumpp, Ph.D, Ex. 4 (Dkt.       Footnote 345                     of the footnote
 9      892-5)

10

11 Disclosure of this non-public information may result in competitive harm to Apple, as it reveals
12 confidential contract terms, which, as detailed above, could give a competitor or potential business
13 partner unfair leverage in competing against or negotiating with Apple. Apple believes this
14 information should be maintained under seal.

15         I declare under penalty of perjury under the laws of the United States that the foregoing is
16 true and correct.
17         Executed on March 11, 2025 at San Francisco, California.
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21                                                              Catherine Spevak
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                                      DECLARATION OF CATHERINE SPEVAK.
                                            Case No. 3:20-cv-08570-JD
